           Case 1:23-cv-01945-ACR Document 44 Filed 01/26/24 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


BREAD FOR THE CITY,

      Plaintiff,

      v.                                                Civil Action No. 1:23-cv-01945-ACR

DISTRICT OF COLUMBIA,

      Defendant.


      DEFENDANT DISTRICT OF COLUMBIA’S OPPOSED MOTION FOR
    RECONSIDERATION OF THE COURT’S DECEMBER 19, 2023 MINUTE ORDER

       Defendant District of Columbia moves for reconsideration of the following portion of the

Court’s December 19, 2023 Minute Order:

       ORDERED that the Working Group shall continue to meet pending the Court’s
       resolution of Defendant’s motion to dismiss, and after the resolution of such motion
       if it is denied. The Court will not set a meeting schedule now as it expects the
       Working Group to come to consensus on the appropriate frequency to keep matters
       moving efficiently and expeditiously.

See Fed. R. Civ. P. 54(b). As explained in the memorandum accompanying this Motion, the

Court had no legal basis to order this relief and should therefore reconsider and vacate it.

Plaintiff opposes; Amicus consents. A proposed order is attached.

Date: January 26, 2024                               Respectfully submitted,

                                                     BRIAN L. SCHWALB
                                                     Attorney General for the District of Columbia

                                                     STEPHANIE E. LITOS
                                                     Deputy Attorney General
                                                     Civil Litigation Division

                                                     /s/ Matthew R. Blecher
                                                     MATTHEW R. BLECHER [1012957]
                                                     Chief, Civil Litigation Division, Equity Section
Case 1:23-cv-01945-ACR Document 44 Filed 01/26/24 Page 2 of 3




                                  /s/ Honey Morton
                                  HONEY MORTON [1018978]
                                  Assistant Chief, Equity Section

                                  /s/ Adam P. Daniel
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                                  Counsel for Defendant District of Columbia




                              2
          Case 1:23-cv-01945-ACR Document 44 Filed 01/26/24 Page 3 of 3




                                     LCvR 7(m) Certification
       I certify that I discussed this motion with Plaintiff’s counsel and Amicus’ counsel by

email on January 18, 2024, by teleconference on January 19, 2024, and subsequently exchanged

emails dated January 19, 24, and 25, 2024. On January 18, Amicus’ counsel represented that

Amicus consents to the relief requested. By email on January 24, Plaintiff’s counsel asked that I

report Plaintiff’s position as follows: “Plaintiff[’s] position is that they oppose this motion but

offered to work with Defendant[ ] to structure the discussions in a manner that accommodates

the schedule of District personnel and avoids unduly burdening them.”

                                                      /s/ Adam P. Daniel
                                                      ADAM P. DANIEL
                                                      Assistant Attorneys General




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